Case 1:20-cv-00891-EK-SJB Document 24-1 Filed 12/09/20 Page 1 of 2 PageID #: 105




                       Exhibit A
   Case 1:20-cv-00891-EK-SJB Document 24-1 Filed 12/09/20 Page 2 of 2 PageID #: 106




                       DISCOVERY PLAN WORKSHEET

                              Phase I (Pre-Settlement Discovery)

                                                                           Rule 26(a) disclosures:
Deadline for completion of Rule 26(a) initial disclosures and any          12/4/20
HIPAA-complaint records authorizations:                                    HIPAA: 12/28/20

Completion date for Phase I Discovery as agreed upon by the parties:       2/9/21
(Reciprocal and agreed upon document production and other discovery
necessary for a reasoned consideration of settlement. Presumptively 60
days after Initial Conference.)

Date for initial settlement conference:                                    2/24/21
(Parties should propose a date approximately 10-15 days after the
completion of Phase I Discovery, subject to the Court’s availability)

                              Phase II (Discovery and Motion Practice)


Motion to join new parties or amend the pleadings:                         3/9/21
(Presumptively 15 days post initial settlement conference)

First requests for production of documents and for interrogatories due 3/24/21
by:
(Presumptively 15 days post joining/amending)
                                                                           End of fact depositions:
All fact discovery completed by:                                           7/3/21
(Presumptively 3.5 months post first requests for                          End of fact discovery:
documents/interrogatories)                                                 7/10/21
                                                                           Plaint. expert rpts.: 9/10/21
Exchange of expert reports completed by:
(Presumptively 30 days post fact discovery)                                Def. expert rpts.: 11/30/21

Expert depositions completed by:                                           1/30/22
(Presumptively 30 days post expert reports)

COMPLETION OF ALL DISCOVERY BY:                                            1/30/22
(Presumptively 9 months after Initial Conference)

Final date to take first step in dispositive motion practice:              3/2/22
(Parties are directed to consult the District Judge’s Individual Rules
regarding such motion practice. Presumptively 30 days post completion of
all discovery)

Do the parties wish to be referred to the EDNY’s mediation program         No
pursuant to Local Rule 83.8?
